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       Attorneys for Amicus Curiae Mental Health Alliance




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION

UNITED STATES OF AMERICA                           Case No. 3:12-cv-02265-SI

               Plaintiff,

      vs.                                          DECLARATION OF JUAN C. CHAVEZ

CITY OF PORTLAND,

               Defendant.




       I, Juan C. Chavez, submit the following declaration:

       I am the counsel of record for the Mental Health Alliance, and I make this declaration in

support of the Joint Status Brief on ¶ 195 for the purpose of identifying exhibits. My statements

are true to the best of my own knowledge, except as to those matters which are therein alleged on

information and belief, and as to those matters, I believe them to be true.



DECLARATION OF JUAN C. CHAVEZ
Page 1 of 2
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1.   Exhibit 1 is a true and correct excerpt from the transcript of the Fairness Hearing held on

     April 29, 2022 in United States v. City of Portland, USDC of Or. Case No. 3:12-cv-

     02265-SI.

2.   Exhibit 2 is a true and correct copy of the proposed Chapter 35 code amendments passed

     by Portland City Council on November 15, 2023.

3.   Exhibit 3 is a true and correct copy of the Ballot Initiative PDX24OL-03 as retrieved

     from the Portland City Auditor’s Office.

     I hereby declare that above statement is true to the best of my knowledge and belief,

     and that I understand it is made for use as evidence in court and is subject to

     penalty for perjury.

     DATED: May 8, 2024.

                                                          /s/ Juan C. Chavez
                                                          Juan C. Chavez, OSB #136428




DECLARATION OF JUAN C. CHAVEZ
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1                    IN THE UNITED STATES DISTRICT COURT

2                            FOR THE DISTRICT OF OREGON

3                                 PORTLAND DIVISION

4
     UNITED STATES OF AMERICA,                       )
5                                                    )
                              Plaintiff,             )   Case No. 3:12-cv-02265-SI
6                                                    )
                       v.                            )
7                                                    )   April 29, 2022
     THE CITY OF PORTLAND,                           )
8                                                    )
                              Defendant.             )   Portland, Oregon
9

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12                                STATUS CONFERENCE

13                           TRANSCRIPT OF PROCEEDINGS

14                 BEFORE THE HONORABLE MICHAEL H. SIMON

15                   UNITED STATES DISTRICT COURT JUDGE

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1                                    APPEARANCES

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1                             APPEARANCES (Continued)

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23   COURT REPORTER:         Dennis W. Apodaca, RDR, CSR
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1                                          INDEX

2    Status conference held April 29, 2022                                   5

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1               THE COURT:     Very good.          Thank you, Mr. Taylor.

2               I will certainly include you in the list of people

3    that have a very difficult job in this room, and I thank you

4    very much for your service and for your candor here today.                  We

5    will probably be talking about some of these issues in future

6    hearings, but I think that's enough for right now.

7               MR. TAYLOR:      Thank you, Your Honor.

8               THE COURT:     Thank you.

9               Mr. Karia, on behalf of Portland Police Association,

10   I look forward to anything you may wish to say.

11              MR. KARIA:     Thank you, sir.           With respect to the core

12   issue before the Court at Docket No. 276, as filed by the

13   United States, I want to make crystal clear that the police

14   association does not object to the proposed settlement

15   agreement amendments and that the Association agrees that those

16   amendments are fair, adequate, and reasonable.

17              Your Honor has already highlighted a particular

18   element of that analysis that you are paying particular

19   attention to, of course, adequacy.              The Ninth Circuit has

20   hinted, as the United States has captured in its briefing at

21   Docket 286, that when the plaintiff here is sitting as

22   effectively a monitor, that some deference should be paid to

23   the sorts of remedies proposed by the United States.

24              And because this is Portland, there is always process

25   and a unique approach, and the months-long mediation amongst
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4               I certify, by signing below, that the foregoing is a

5    correct transcript of the record of proceedings in the

6    above-entitled cause.       A transcript without an original

7    signature, conformed signature, or digitally signed signature

8    is not certified.

9
     /s/ Dennis W. Apodaca                                   July 19, 2022
10   DENNIS W. APODACA, RDR, RMR, FCRR, CRR                          DATE
     Official Court Reporter
11

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Chapter 35 Community Police Oversight Board

35A.010 Creation of City of Portland Community Police Oversight Board
A. Portland City Charter Chapter 2, Article 10 has established the City of Portland
   Community Police Oversight Board. The name of the Board shall be the
   Community Board for Police Accountability (CBPA). The CBPA shall exercise
   independent judgment in performing all legally assigned powers and duties.
   The Mayor, City Council, Auditor, City Administrator and Deputies, and City
   departments, bureaus, and other administrative agencies shall not interfere in
   the exercise of the CBPA’s independent judgment.
      1. The Office of Community-based Police Accountability (OCPA) is
         established by this Code and reports to the CBPA.
      2. The CBPA and OCPA collectively form the “Oversight System.”
         References to “Oversight System” in this Code refer to the CBPA and
         OCPA, consistent with their roles and functions as outlined in this Code.
      3. The Oversight System shall report to a Deputy City Administrator in the
         same manner as other City Bureaus. The CBPA may delegate authority
         given to it under the Charter and this Code to the OCPA, to permit the
         Oversight System to fulﬁll its obliga�ons established under Charter 2-10.
      4. The physical oﬃce of the CBPA shall be located outside of a Portland
         Police Bureau facility.
      5. The Oversight System shall develop working rela�onships with other
         parts of City government to ensure its ability to par�cipate in relevant
         City processes related to the tasks required of the CBPA by law or
         regula�on.
B. Purpose. The Oversight System shall independently investigate sworn
   employees and supervisors thereof within the Portland Police Bureau (PPB)
   promptly, fairly, and impartially, and impose discipline if determined
   appropriate by the CBPA, and make recommendations regarding police
   practices, policies, and directives to PPB with a primary focus on community
   concerns.
C. The CBPA may recommend administra�ve rules to the Chief Administra�ve
   Oﬃcer prior to January 1, 2025, and therea�er to the City Administrator, who
   shall have ﬁnal rule-making authority. The CBPA shall have the authority to
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   adopt opera�ng policies and procedures that apply to the Oversight System as
   necessary to carry out their du�es, and bylaws that apply to the CBPA. The
   CBPA shall subject all of its administra�ve rules, policies and procedures, and
   bylaws to a community input period that shall last not less than 30 days, except
   that the CBPA may adopt policies, procedures, and bylaws in an urgent
   situa�on that shall be in eﬀect no longer than 90 days and therea�er shall
   follow the community input process. The Chief Administra�ve Oﬃcer un�l
   January 1, 2025 and therea�er the City Administrator may adopt temporary
   administra�ve rules that shall be in eﬀect no longer than 90 days and
   therea�er shall follow the community input process.
D. Copies of all current administrative rules, policies and procedures, and bylaws
   will be posted on the Oversight System’s website.

35A.020 Deﬁni�ons
In this Chapter:

A. “CBPA” refers to the Community Board for Police Accountability and members
   thereof, and is the community police oversight board established under
   Charter 2-1001.
B. “OCPA” refers to the Oﬃce of Community-based Police Accountability of the
   City of Portland and the employees thereof.
C. “Oversight System” refers collec�vely to the CBPA and OCPA.
D. “Director” refers to the Director of the OCPA, who shall be a Bureau Director
   for purposes of Charter 4-301.
E. “Accountability” is a comprehensive system of checks and balances aimed at
   ensuring that in instances where a Covered Employee violates City rules or PPB
   policy, including when such viola�on is damaging to other individuals or the
   community at large or cons�tutes a failure to carry out their du�es properly,
   they are held responsible through a fair and impar�al process that helps foster
   community trust with police.
F. “Administra�ve Inves�ga�on” is an employment inves�ga�on into an
   allega�on of a Covered Employee’s viola�on of City rules or PPB direc�ves and
   that may result in disciplinary or correc�ve ac�on in the employment
   rela�onship. This shall not preclude criminal inves�ga�ons or inves�ga�ons by
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   the Ombuds oﬃce, Elec�ons oﬃce, and other similar oﬃces that do not result
   in disciplinary ac�on in the employment rela�onship.
G. “Complainant” is a person who has ﬁled a complaint of misconduct against a
   Covered Employee and was the recipient of alleged misconduct, as dis�nct
   from a Third-Party Complainant.
H. “Covered Employee” is a sworn employee and supervisors thereof within PPB.
   The Chief of Police is not a Covered Employee under City Charter sec�on 2-
   401(g).
I. “Immediate Family Members” include parents, spouses, domes�c partners,
   children, or siblings but do not include family members who are estranged.
J. “Independent Judgment” is the ability to make considered decisions or come
   to sensible conclusions that are not dependent on another's authority, free
   from outside control, including improper inﬂuence from law enforcement,
   poli�cal actors, and other special interests looking to aﬀect the opera�ons of
   the Oversight System. The exercise of independent judgment shall be fair,
   reasonable, objec�ve, and consistent with applicable laws, rules, policies, and
   procedures.
K. “Just Cause” per ORS Chapter 243, is a cause reasonably related to the public
   safety oﬃcer’s ability to perform required work. The term includes a willful
   viola�on of reasonable work rules, regula�ons or writen policies.
L. “Law Enforcement Agency” means county sheriﬀs, municipal police
   departments, public university police departments, state and federal police
   agencies, and municipal, state and federal correc�ons agencies.
M. “No�ce” occurs when it is sent or otherwise communicated to the last known
   contact informa�on. If no contact informa�on was provided to OCPA staﬀ
   when requested, then no�ce is not required.
N. “Panel” is a subset of the CBPA’s full membership empowered to make
   decisions related directly to cases of allega�ons of administra�ve misconduct
   by Covered Employees.
O. “Preponderance of the Evidence” is the standard of proof applied to ﬁndings
   and means to prove that something is more likely than not.
P. “Third-Party Complainant” is a person who has ﬁled a complaint of
   misconduct against a Covered Employee and was not the recipient of alleged
   misconduct.
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35A.030 Obliga�on to Follow Law
In the performance of its duties, the CBPA and OCPA are obligated to follow all
applicable federal, state, and local laws and rules, including but not limited to the
United States Constitution and Oregon Constitution; City Charter; collective
bargaining agreements; and Oregon public records, public meetings, and ethics
laws.


35A.040 Powers and Du�es of the Oversight System
The CBPA and OCPA have the following powers and du�es:
A. Intake. The OCPA shall receive complaints alleging Covered Employee
   misconduct and determine the appropriate manner to address the complaint
   consistent with this Code and CBPA procedure.
      1. When there is an allega�on of misconduct against the Chief of Police,
         the OCPA shall inves�gate the allega�on and report its ﬁndings to the
         Mayor. The Mayor may elect for another en�ty to perform the
         inves�ga�on.
B. Ini�ate and conduct administra�ve inves�ga�ons. The OCPA will ini�ate and
   conduct administra�ve inves�ga�ons that are under its jurisdic�on and in the
   manner described in Sec�on 35D.
      1. For formal inves�ga�ons conducted by the OCPA, inves�ga�on reports
         will include factual ﬁndings and will be resolved in one of two ways: 1)
         sustained, meaning the ac�on is found by preponderance of the
         evidence to have violated City policy; or 2) not sustained, meaning the
         evidence is not suﬃcient to demonstrate by a preponderance of the
         evidence that a viola�on of City policy occurred, or, the evidence
         demonstrated by a preponderance that the Covered Employee’s conduct
         was lawful and within policy.
      2. The OCPA shall send no�ce to the Police Chief or designee that it intends
         to conduct an administra�ve inves�ga�on into misconduct before
         ini�a�ng the inves�ga�on.
      3. The OCPA shall have the authority to obtain informa�on to inves�gate
         allega�ons of misconduct.
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      a. The CBPA and OCPA shall have the authority and ability to gather
         and compel all evidence relevant to an inves�ga�on, including
         access to all police records, to the extent allowed by federal and
         state law.
      b. Consistent with other provisions of this Code, the CBPA and OCPA
         shall have the authority to compel witnesses who are City
         Employees to par�cipate in inves�ga�ons and to answer all
         ques�ons completely and truthfully, and to warn City Employees
         that refusal to truthfully and completely answer all ques�ons may
         result in discipline up to and including termina�on. The Oversight
         System shall coordinate with City Bureaus and Oﬃces, including
         PPB and any applicable union representa�ve, to schedule
         inves�gatory interviews at a �me when the employee is on duty
         and that does not unduly interfere with the opera�ons of the
         Bureau or Oﬃce and is consistent with any applicable collec�ve
         bargaining agreement. The inves�ga�on shall not be unreasonably
         delayed. The CBPA and OCPA shall have the authority to compel
         and subpoena witnesses outside of City employment to the extent
         allowed by law.
4. Access to informa�on. Notwithstanding any other provision of City law
   or rule, OCPA shall have access to and be authorized to examine and
   copy, without payment of a fee, any Bureau or Oﬃce informa�on and
   records relevant to an inves�ga�on, including conﬁden�al and legally
   privileged informa�on and records, so long as privilege is not waived as
   to third par�es, as well as access to police databases, subject to any
   applicable state or federal laws. The Oversight System shall not disclose
   conﬁden�al or legally privileged informa�on or records and shall be
   subject to the same penal�es as the legal custodian of the informa�on
   or records for any unlawful or unauthorized disclosure.
      a. Records shall include all records as deﬁned under Oregon Public
         Records Law.
      b. PPB and other City Bureaus and Oﬃces shall not unreasonably
         delay in providing records relevant to an inves�ga�on to the
         OCPA. Informa�on received under this provision by the Oversight
         System shall not be used in a way that undermines or interferes
         with an ongoing criminal inves�ga�on or prosecu�on.
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C. Recommend policy changes. The CBPA shall have authority to make policy and
   direc�ve recommenda�ons to PPB. PPB shall consider and accept or reject all
   policy or direc�ve recommenda�ons made by the CBPA. If PPB rejects a policy
   or direc�ve recommenda�on, then at the request of the CBPA, City Council
   must consider and vote to accept or reject the policy recommenda�ons
   received from the CBPA. Council’s decision will be binding on PPB.
D. Outreach. The CBPA and OCPA may widely distribute complaint forms in
   languages and formats accessible to community members and educate them
   on the process of repor�ng complaints.
E. Oversight System External Audit. The Oversight System shall have the
   authority to hire a qualiﬁed independent third-party expert to audit the
   Oversight System’s closed inves�ga�ons and its disciplinary decisions
   pertaining to oﬃcer-involved shoo�ngs, in-custody deaths, and uses of deadly
   force that do not result in death to assess and provide recommenda�ons. For
   purposes of this sec�on, “closed inves�ga�on” shall mean that the
   inves�ga�on has been completed, a determina�on was made either not to
   issue discipline or any discipline arising from the incident has been issued and
   the Covered Employee’s grievance and appeal rights have been exhausted.
   1. Consistent with applicable law and collec�ve bargaining agreements, the
       completed reviews of these closed inves�ga�ons shall be described in
       periodic reports available to the public. Names of any individuals, including
       but not limited to Covered Employees or community members and
       complainants, that have not already been publicly released by the City will
       be redacted or otherwise changed to maintain privacy. (E.g., Employee A,
       Community Member A, etc.)
   2. These reports will be presented to the public and City Council.
F. Annual reports. The CBPA will annually publish a writen report with an
   Execu�ve Summary. The report will be presented at a public mee�ng of the
   CBPA. The annual report will also be presented at a public City Council session.
   1. The Annual Report shall include the following informa�on:
      a. Overview of the CBPA, its staﬀ, and its func�ons;
      b. Summary of recommenda�ons submited by the CBPA to the Police
         Bureau, and if applicable City Council, regarding changes to PPB policy
         and direc�ves along with outcomes for each listed recommenda�on;
      c. An implementa�on update for accepted policy recommenda�ons;
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d. Summary of complaints received by the CBPA over the year, while not
   disclosing conﬁden�al informa�on or informa�on exempt from
   disclosure under public records laws. All names of Covered Employees
   and community members will be anonymized. (E.g., Employee A,
   Community Member A, etc.);
e. The number of Covered Employees who have two or more sustained
   complaints within one year;
f. The number of complainants who ﬁled mul�ple complaints, and issues
   that were raised by mul�ple complaints;
g. Demographic proﬁles of the complainants to the extent that informa�on
   exists or is voluntarily provided by the complainants;
h. Number and percentage of intake complaints that were appealed for
   reconsidera�on by the Director and the outcome of those appeals;
i. Number and percentage of cases referred to media�on;
j. Number, percentage, and type of informal outcomes, cases not
   sustained, non-disciplinary correc�ve ac�ons, and discipline decisions
   that were imposed;
k. Number of discipline decisions that were grieved under the applicable
   collec�ve bargaining agreement or appealed to the Civil Service Board
   and whether discipline was upheld, modiﬁed, or overturned;
l. Number of �mes a PPB employee failed to comply with the CBPA’s
   request for an interview or for the produc�on of documents, and the
   number of �mes a PPB sworn employee failed to comply with a valid
   subpoena, and whether discipline was imposed for any such non-
   compliance;
m. Number of closed cases involving either uses of deadly force or in-
   custody deaths;
n. Number of cases in which the CBPA failed to complete its administra�ve
   inves�ga�on within 180 days of commencement of an inves�ga�on;
o. List of CBPA-member-required training and percentage of CBPA
   members who have completed each training.
p. Iden�ﬁca�on of trends with respect to complaint types and frequency,
   and consistency of correc�ve ac�on imposed; and
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      q. Par�cipant sa�sfac�on survey results and community and PPB feedback.
G. Data dashboards The Oversight System shall develop interac�ve data
   anonymized dashboards.
H. Legal Advice. The CBPA may obtain legal advice and representa�on from the
   City Atorney, or may retain or employ outside legal counsel in a manner
   consistent with the procedures of City Code 5.68.060.

35B.010 CBPA Membership
A. Number of members and alternates.
   1. The CBPA shall consist of twenty-one (21) members.
   2. The CBPA shall also have six (6) alternates, appointed by Council from
      individuals who apply for CBPA membership and meet the qualiﬁca�ons
      included in this Code sec�on. Alternates shall be available to serve when a
      CBPA posi�on is vacated. Alternates shall complete all requirements
      necessary to be prepared to act as a replacement. The Council shall appoint
      an alternate to the CBPA when a CBPA posi�on is vacated. Un�l appointed
      as a CBPA member, alternates may not serve on the CBPA.
B. Appointment process. CBPA members and alternates shall be appointed by a
   vote of the City Council.
   1. CBPA members shall be appointed but shall not serve on the CBPA un�l
      passing the background check provided for in this Sec�on. If a person does
      not pass, or fails to comply with, the background check, then Council shall
      appoint another CBPA member.
   2. A nomina�ng commitee comprised of members as listed below shall solicit
      applicants for the CBPA and shall refer poten�al CBPA members to City
      Council based on a recommenda�on of a majority of nomina�ng commitee
      members. The ini�al nomina�ng commitee shall be as stated below, except
      in lieu of subparagraph (a) below there shall be two members of the Ci�zen
      Review Commitee community member, and in lieu of subparagraph (b)
      below Council shall each appoint one member. The nomina�ng commitee
      shall be comprised of the following members:
         a. Two CBPA representa�ves;
         b. One community member from each Council district as designated by
            the Council members of that district;
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         c. One representa�ve designated by the Chief of Police;
         d. One representa�ve from PPA; and
         e. One representa�ve from PPCOA.
C. Quorum Requirements.
   1. Maters Aﬀec�ng Full CBPA: A simple majority of the full CBPA shall
      cons�tute a quorum of the CBPA for decisions about procedures, protocols,
      or other decisions of the CBPA provided for in this Code Sec�on. Unless
      otherwise stated in this Code, a simple majority of the full CBPA shall vote
      in favor of adop�ng procedures, protocols and other decisions of the CBPA
      provided for in this Code Sec�on for such to go into eﬀect.
   2. Removal: Removal of the OCPA Director shall require a “yes” vote of two-
      thirds of the full CBPA.
   3. CBPA Review Panels: All panel members are required to be present to
      establish a quorum.
D. Qualiﬁca�ons and Selec�on Criteria: Prospec�ve CBPA members shall be
   considered for vacancies on the CBPA based upon the following qualiﬁca�ons
   and selec�on criteria:
   1. CBPA members must live or work in the City of Portland for at least twelve
      months prior to their appointment.
   2. In making appointments, Council shall make provisions to ensure the CBPA’s
      membership includes representa�on from diverse communi�es including
      those with diverse lived experiences, par�cularly those who have
      experienced systemic racism and those who have experienced mental
      illness, addic�on, or alcoholism.
   3. Individual CBPA members must have a commitment to police accountability,
      fairness, and ensuring that PPB policies do not violate state and federal
      cons�tu�onal rights. Individual CBPA members must also commit to
      upholding the City’s core values of an�-racism, equity, transparency,
      communica�on, collabora�on, and ﬁscal responsibility.
   4. CBPA members must be capable of making fair, objec�ve, and impar�al
      decisions consistent with applicable laws, rules, policies, and procedures
      and based on the evidence presented to them in an environment where
      controversy is common.
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   5. Prerequisites for Service on the CBPA:
      a. A prospec�ve CBPA member must comply with ORS Chapter 244
         (Government Ethics) and Portland City Code Chapter 1.03 (Code of
         Ethics) and disclose at the �me of their applica�on any poten�al or
         actual conﬂicts of interests. The City Atorney’s Oﬃce shall conduct a
         check of prospec�ve CBPA members for legal conﬂicts.
      b. The CBPA member must sign a conﬁden�ality agreement.
      c. Background Check. Members shall pass a criminal background check by
         an en�ty other than the PPB to conduct such check. Background checks
         shall comply with all laws, including the Fair Credit Repor�ng Act. A
         background check shall include considera�on of any poten�al CJIS-
         authorized waivers or excep�ons for access to protected informa�on.
         The Chief Administra�ve Oﬃcer un�l January 1, 2025, and therea�er the
         Deputy City Administrator assigned to the Oversight System will make
         the ﬁnal determina�on as to whether an applicant has passed a
         background check.
   6. Restric�ons on CBPA Membership. The following individuals are not eligible
      for service on the CBPA:
         a. An individual currently employed by a law enforcement agency;
         b. An immediate family member of an individual currently employed by
            a law enforcement agency;
         c. Any individual who has an objec�ve demonstra�on of bias for or
            against law enforcement; and
         d. An individual formerly employed by a law enforcement agency.

E. Training and Other Requirements. CBPA members and alternates shall
   complete these training and other requirements within six (6) months of
   appointment, unless extended for good cause. CBPA members shall not vote
   on Administra�ve Inves�ga�ons prior to comple�ng these requirements unless
   authoriza�on is given by the Deputy City Administrator. Such permission shall
   only occur for CBPA members who have made a good faith eﬀort to complete
   the requirements herein and there is good cause for any missing requirements.
   1. Complete all paperwork necessary to ensure access to City resources,
      including compensa�on and other support services;
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   2. Complete orienta�on and training applicable to all members of a City
      governing body;
   3. Become familiar with the City Charter Chapter 2, Ar�cle 10, and chapters of
      this Code that address the CBPA’s roles and responsibili�es;
   4. Receive training on the CBPA’s history, internal structure and processes,
      including CBPA bylaws, rules and procedures;
   5. Become familiar with applicable federal, state, and local laws and rules,
      including but not limited to the United States Cons�tu�on and Oregon
      Cons�tu�on; City Charter; collec�ve bargaining agreements; ORS 243.808-
      .812; ORS 236.350-370; and Oregon public records, public mee�ngs, and
      ethics laws; and done in consulta�on with the City Atorney’s Oﬃce;
   6. Training and requirements for access to police databases, including any
      annual renewal requirements;
   7. Receive instruc�on about PPB’s history, procedures, policy development
      process, and PPB’s training on de-escala�on, equity, bias-based policing,
      and crisis interven�on;
   8. Par�cipate in at least one PPB "ride-along" and PPB community academy;
   9. Atend training on na�onal best prac�ces for civilian oversight of law
      enforcement misconduct;
   10.Receive training about the City’s Civil Service Board;
   11.Receive training on relevant City personnel policies and procedures,
      procedural jus�ce, and equity and implicit bias;
   12.Receive training on using video footage in administra�ve or force
      inves�ga�ons, limita�ons of video evidence, human performance dynamics
      and limita�ons, and cogni�ve interviewing techniques; and
   13.Receive training in the legal requirements for maintaining the
      conﬁden�ality of personnel records and other conﬁden�al documents or
      informa�on.
The OCPA shall ensure training is oﬀered at least annually for CBPA members and
alternates.
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F. Term Lengths and Renewability.
   1. CBPA members and alternates shall each serve a term of three years, unless
      reappointed by Council. An alternate CBPA member appointed to a CBPA
      vacancy shall serve the remainder of the vacant term.
   1. Ini�al appointment lengths may be staggered.
   2. CBPA members and alternates may apply to renew their term and will be
      considered for the posi�on by the CBPA nomina�ng commitee.
   3. A CBPA member may be granted a leave of absence for good cause as
      approved by the Bureau of Human Resources, including in instances of
      illness, injury, or other personal hardship.
G. CBPA Member Support and Compensa�on

   1. CBPA members shall be eligible for compensa�on subject to applicable law,
      City policy, and rulemaking. This compensa�on may be up to the maximum
      allowable for volunteers under applicable law, subject to City Council
      approval.
   2. Addi�onal reimbursement to CBPA members for expenses associated with
      service on the CBPA may be authorized, subject to City Council approval.
      The CBPA may establish non-ﬁnancial support systems within or outside of
      City structures to support CBPA members, subject to City Council approval.


35B.020 Resignation and Removal from CBPA
A. A CBPA member may resign prior to the expira�on of their term and shall
   provide writen no�ce to the CBPA and the Director.
B. City Council may remove a CBPA member for cause. Cause for removal may
   include, but is not limited to:
   1. Oﬃcial Misconduct (See ORS 162.405-162.415);
   2. Repeated and excessive unavailability for service, including unexcused
      absences, failure to par�cipate, or inac�vity;
   3. Excessive excused absences;
   4. Failure to �mely disclose an actual conﬂict of interest;
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   5. Loss of eligibility to serve, including no longer mee�ng any of the
      requirements such as living or working in the City of Portland;
   6. Member’s, or immediate family member’s, employment by a law
      enforcement agency;
   7. Failure to read en�re case ﬁles and adequately prepare for Reviews;
   8. Breach of conﬁden�ality;
   9. Objec�ve demonstra�on of bias for or against the police;
   10.Failure to atend scheduled training or to complete training within six (6)
      months of appointment or a�er any granted extensions;
   11.Misconduct, such as harassment, discrimina�on, or retalia�on;
   12.Conduct that cons�tutes an improper disclosure of private informa�on as
      deﬁned in ORS 30.835; or
   13.Any other cause which impacts the CBPA’s eﬀec�ve opera�ons.
C. The Deputy City Administrator or designee shall conﬁrm eligibility to serve on
   the CBPA not less than annually.
D. The Bureau of Human Resources shall inves�gate allega�ons of misconduct
   regarding CBPA members and communicate their ﬁndings to City Council. The
   BHR Director may recommend, and the Deputy City Administrator may
   suspend, a CBPA member from du�es pending the resolu�on of the
   allega�ons.


35B.030 CBPA Budget
A. The CBPA’s budget shall be a publicly disclosed, and shall comply with all State,
   City, Procurement, and City Budget Oﬃce budget requirements.
B. Council shall adopt a budget at the conclusion of the budget cycle that is
   propor�onal to ﬁve percent (5%) of the concurrently adopted PPB annual
   opera�ng budget.


35C.010 Director Roles, Responsibili�es, and Delega�on
A. The CBPA shall hire a Director to manage the professional administra�ve staﬀ
   and professional inves�gators, and to make opera�onal and administra�ve
   decisions. The Director is a “Bureau Director” for purposes of Charter sec�on
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   4-301 and shall be appointed by, and serve at the will and pleasure of, the
   CBPA. The same nomina�ng commitee that provides recommenda�ons for
   CBPA member appointments will review applicants for Director and make
   recommenda�ons for considera�on by the CBPA. Professional staﬀ of the
   Oversight System shall be appointed by and serve under the direc�on of the
   Director. Such appointment and service shall comport with all City and
   classiﬁed service requirements.
   1. As part of the professional staﬀ of the OCPA, the Director shall hire
      complaint navigators to help complainants navigate their cases. All
      complaint navigators shall be trained on culturally sensi�ve and trauma-
      informed support.
C. The Director shall make opera�onal and administra�ve decisions for the OCPA.
D. The Director is authorized to adopt, amend, and repeal policies, procedures,
   and forms to implement the provisions of this Code and CBPA rules, including
   for the discharge of its du�es.
E. The Director may delegate to a designee any or all du�es or responsibili�es.


35C.020 Staﬀ Training and Qualiﬁca�ons
A. All OCPA employees shall be trained on the following areas of training that are
   required for CBPA members in Code sec�on 35B.010(E)(3)-(9), and (11)-(13).
B. All OCPA employees who will have access to legally protected informa�on shall
   pass a criminal background check performed by an en�ty other than the PPB.
   Background checks shall comply with all laws, including the Fair Credit
   Repor�ng Act. A background check shall include considera�on of any poten�al
   CJIS-authorized waivers or excep�ons for access to protected informa�on.
C. Inves�gators shall also complete training in:
   1. CBPA policies and direc�ves;
   2. Interviewing techniques;
   3. Trauma-informed service delivery; and
   4. Other relevant training needs as iden�ﬁed by the Director.
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35C.030 Staﬀ Community Engagement
A. The CBPA shall conduct public educa�on on the role of the Oversight System
   and community members’ rights, keeping the community informed of its
   ac�vi�es, how to ﬁle complaints, and receive input.
B. The outreach shall be conducted in ways that are accessible in terms of
   language, abili�es, and other considera�ons.
C. Community engagement shall include discussions on how to improve police
   prac�ces and policy, which includes solici�ng community input.
Educate the public about the processes of the Oversight System and the correc�ve
ac�on goals.

35D.010 Elements of Administra�ve Process
A. Beyond the requirements listed here and in other parts of this Code, the
   Oversight System shall develop rules and procedures for receiving and
   processing complaints, conduc�ng inves�ga�ons, repor�ng of ﬁndings,
   conclusions and recommenda�ons, and taking of disciplinary ac�on consistent
   with any binding disciplinary rules and applicable collec�ve bargaining
   agreements or statewide standards.
B. Inves�ga�ons must be conducted in a manner that is ethical, independent,
   thorough, �mely, fair, and impar�al.
C. Interviews
   1. Interviews with Covered Employees shall be audio-only recorded and
      conducted in a manner that is consistent with state law and any applicable
      collec�ve bargaining agreement.
   2. Interviews with Complainants and witnesses shall be audio-only recorded.
         a. When a Complainant or witness is concerned about public release of
            their informa�on, they may request that the informa�on be treated
            as conﬁden�al. The CBPA may adopt a rule for handling of such
            informa�on consistent with Oregon Public Records laws.
   3. Inves�ga�ons shall be completed even if an oﬃcer re�res, resigns, or is
      terminated.
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35D.020 Timelines for Comple�on
The CBPA shall adopt an administra�ve rule regarding the �melines for
comple�on of inves�ga�ons and any maters related to discipline.


35D.030 Oversight System Jurisdic�on
A. The Oversight System shall accept complaints from any source. The CBPA is
   authorized to perform an administra�ve inves�ga�on into complaints against
   Covered Employees to determine compliance with City or Police Bureau policy,
   as well as all in-custody deaths and uses of deadly force by sworn members of
   the Police Bureau unless otherwise stated in this Code.
B. The Oversight System shall have the authority to administra�vely inves�gate
   for viola�on of City or PPB policy all complaints against Covered Employees as
   follows:
   1. All allega�ons of excessive force;
   2. Discrimina�on against a protected class as deﬁned by local, state, or federal
      law in consulta�on with a BHR Business Partner;
   3. Viola�ons of federal or state cons�tu�onal rights;
   4. Negligent discharge of a ﬁrearm, outside of a PPB Training event;
   5. Biased-based policing;
   6. Complaints referred to the Oversight System by Internal Aﬀairs and
      accepted by the OCPA;
   7. Oﬃcer failure to iden�fy, consistent with ORS 181A.704; and
   8. Complaints brought by a PPB sworn member who requests CBPA
      inves�ga�on.
C. The CBPA may also inves�gate:
   1. Other allega�ons of misconduct by Covered Employees as the CBPA deems
      ﬁt, provided that the CBPA ﬁrst brings an ordinance to Council to amend
      this Code and add the newly covered misconduct to this Code sec�on.
D. Criminal Inves�ga�ons.
   1. If a criminal inves�ga�on has been ini�ated against the involved member,
      or during the course of an Oversight System administra�ve inves�ga�on a
      basis for conduc�ng a criminal inves�ga�on arises, the Oversight System
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      shall immediately advise the City Atorney or designee prior to ini�a�ng or
      con�nuing an administra�ve inves�ga�on.
   2. The Oversight System shall toll the administra�ve inves�ga�on while the
      criminal inves�ga�on is ongoing except where the administra�ve
      inves�ga�on will not interfere with the criminal inves�ga�on.
   3. In no event shall the Oversight System interview the Covered Employee,
      outside of the ini�al administra�ve inves�gatory interview in an instance of
      deadly force or an in-custody death, un�l the en�ty inves�ga�ng the
      criminal charges advises the Oversight System that such interview will not
      interfere with the criminal inves�ga�on. The Oversight System shall take all
      steps necessary to meet cons�tu�onal requirements and comply with
      exis�ng provisions of City labor agreements.
   4. The Oversight System will have no role or responsibility in conduc�ng
      criminal inves�ga�ons of any kind.
E. The following types of complaints which are outside the CBPA’s jurisdic�on,
   shall be handled as follows:
   1. When the complaint involves an allega�on of a viola�on of Human
      Resources Administra�ve Rule 2.02, the complaint shall be referred to the
      Bureau of Human Resources within two business days. If the HRAR 2.02
      allega�on is covered under this Code subsec�on, then the Oversight System
      shall include a BHR Business Partner in the inves�ga�on.
   2. When the alleged viola�ons are not under the Oversight System’s authority
      to inves�gate, the mater shall be referred to the appropriate inves�gatory
      City or outside en�ty.
   3. Allega�ons of viola�ons of truthfulness and courtesy direc�ves and of
      criminal law.
         a. For allega�ons of viola�ons of the truthfulness or courtesy direc�ves
            or criminal law, the OCPA Director or designee shall receive access to
            the full PPB administra�ve inves�ga�on case ﬁle and report. The
            OCPA Director or designee shall only permit access to the full case ﬁle
            and report for purposes of preparing writen feedback and
            recommenda�ons. The OCPA Director or designee and those with
            access to this informa�on shall treat it as conﬁden�al.
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         b. The OCPA Director or designee shall have not less than twenty-one
            days to submit writen feedback and recommenda�ons.
         c. The OCPA Director or designee is authorized to provide summaries of
            these maters to the CBPA. Such summaries shall be provided in
            execu�ve session in compliance with Oregon public mee�ngs laws.


35D.040 Inves�ga�ons of deadly force and in-custody deaths
The CBPA shall have authority to perform an administra�ve inves�ga�on into all
in-custody deaths and uses of deadly force.
   A. In use of deadly force and in-custody death cases, the OCPA Inves�gators
      shall coordinate with criminal inves�gators.
   B. The OCPA’s inves�gator shall take a compelled statement no later than 48
      hours a�er the event a�er issuing a Garrity warning, unless the Covered
      Employee is incapacitated.
   C. No CBPA member or OCPA employee may disclose any compelled
      statements taken pursuant to this Code Sec�on, any evidence derived from
      those statements, or any informa�on whatsoever gathered as part of the
      use of deadly force or in-custody death inves�ga�on to anyone outside of
      the CBPA or OCPA un�l the conclusion of any and all criminal proceedings
      against the Covered Employee.
   D. When an incident involves police use of deadly force or an in-custody
      death, PPB shall no�fy the Director or designee as soon as possible a�er the
      incident. The Director or designee shall go to the scene and shall abide by
      police procedures and applicable law.
   E. The OCPA shall have access to PPB’s criminal inves�gatory records relevant
      to the deadly force or in-custody death case and shall maintain such records
      conﬁden�ally unless authorized otherwise by the PPB Chief or designee.
   F. OCPA shall review uses of deadly force and in-custody deaths to determine
      if the force complied with policy. This inves�ga�on shall not only review the
      oﬃcer who used force but shall include a review of the supervisors.
   G. The OCPA shall coordinate with PPB Training Division to provide access to
      transcripts and the inves�ga�ve ﬁle throughout their inves�ga�on. PPB
      Training Division shall review the inves�ga�on to determine whether the
      ac�ons of Covered Employees were consistent with training and whether
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      those ac�ons reﬂect training deﬁciencies. The Training Division shall present
      its analysis to the CBPA.
   H. The PPB Chief or designee shall receive access to the full case ﬁle and
      inves�ga�on report. The Chief or designee shall only permit access to the
      full case ﬁle and inves�ga�on report for purposes of preparing writen
      feedback or recommenda�ons. The Chief or designee and those with access
      to it shall treat the informa�on as conﬁden�al. The Chief or designee shall
      have not less than twenty-one days to submit writen feedback or
      recommenda�ons.
   I. The OCPA shall therea�er submit the full case ﬁle, the inves�ga�on report,
      and any submissions from the PPB Chief or designee to the CBPA.
   J. All uses of deadly force and in-custody death cases shall be reviewed by a
      quorum of the full CBPA.
   K. The CBPA review shall follow the procedure as outlined in Sec�on
      35D.060(D)-(F).
   L. If the CBPA determines the use of deadly force or in-custody death was
      sustained as out of policy, the OCPA will, if possible, provide no�ce to the
      person on whom deadly force was used or their survivor and opportunity to
      provide an impact statement to the CBPA. Such no�ce shall occur
      simultaneously to issuance of a proposed discipline leter.
   A. All interviews of City and PPB employees shall be conducted in
      conformance with legal requirements and collec�ve bargaining provisions.


35D.050 Administra�ve Inves�ga�on and Discipline Process
A. When the Oversight System receives a complaint regarding alleged misconduct
   of a Covered Employee, staﬀ shall:
   1. Intake:
         a. Assign a case number;
         b. Conduct a preliminary inves�ga�on, including gathering informa�on
            about the complaint through an intake interview. All facts as alleged
            are assumed to be true for purposes of case handling decisions as
            outlined in Sec�on 35D.050(A)(2); and
         c. Determine whether facts as alleged cons�tute a policy viola�on
            under the Oversight System’s jurisdic�on.
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2. Make a case-handling decision:
      a. Conduct a full inves�ga�on when facts as alleged cons�tute a policy
         viola�on under the Oversight System’s jurisdic�on, except as follows:
             i. When the mater falls under sec�on 35D.050(A)(2)(d)(i), the
                Oversight System may refer complainant and Covered
                Employee to media�on and close the case; or
            ii. Where there is clear and convincing evidence that the Covered
                Employee did not engage in misconduct. Allega�ons of
                excessive force shall be subject to full inves�ga�ons unless
                there is clear and convincing evidence that the allega�on has
                no basis in fact.
      b. Administra�vely close the complaint when facts as alleged do not
         cons�tute a policy viola�on under the Oversight System’s jurisdic�on
         or the misconduct would be so minor that the mater would be
         beter addressed through other means;
             i. If a Complainant disagrees with the OCPA staﬀ’s decision to
                administra�vely close a complaint, they can appeal the
                decision if within fourteen (14) days of the date the no�ce of
                administra�ve closure is sent to the Complainant or they are
                otherwise no�ﬁed, they ﬁle a request for the OCPA Director or
                designee to review the decision to administra�vely close the
                complaint to determine if the Inves�gator gave proper
                considera�on to the allega�ons.
            ii. The CBPA shall adopt a rule for this appeal process.
      c. Refer to other City en�ty or outside en�ty if not within the Oversight
         System’s jurisdic�on; or
      d. Media�on when:
             i. the misconduct would be so minor that the mater would be
                beter addressed through other means; or
            ii. when a case is administra�vely closed and media�on could
                beneﬁt the rela�onship between PPB and the community
                member.
3. If appropriate for a full inves�ga�on, iden�fy the allega�ons or possible rule
   viola�ons.
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   4. Complete an inves�ga�on report outlining the evidence obtained during
      the inves�ga�on and make a recommenda�on as to whether the evidence
      supports a ﬁnding of sustained or not sustained.
   5. Provide no�ce in wri�ng, if possible, to the Complainant and Covered
      Employee sta�ng the allega�ons and the inves�gator’s recommenda�on to
      either sustain or not sustain as to each allega�on.
   6. The Complainant shall have not less than fourteen days to provide an
      impact statement and any addi�onal informa�on they believe has not
      already been considered.
   7. The Covered Employee shall have not less than fourteen days to provide any
      addi�onal informa�on they believe has not already been considered.
   8. Provide to the PPB Chief or designee access to the full case ﬁle and
      inves�ga�on report. The Chief or designee shall only permit access to the
      full case ﬁle and inves�ga�on report for purposes of preparing writen
      feedback or recommenda�ons. The Chief or designee and those with access
      to it shall treat the informa�on as conﬁden�al. The Chief or designee shall
      have not less than twenty-one days to submit writen feedback or
      recommenda�ons. If the Complainant or Covered Employee provides
      addi�onal informa�on, the Chief or designee shall receive such informa�on
      and have ﬁve days to provide addi�onal writen feedback or
      recommenda�ons.
   9. Submit the full case ﬁle, the inves�ga�on report, and any submissions from
      the Complainant, Covered Employee, and the PPB Chief or designee to the
      CBPA.
   10. The OCPA will provide a Complaint Navigator no later than at the
      determina�on by the OCPA to conduct a full inves�ga�on. The CBPA may
      adopt a rule requiring assignment of a Complaint Navigator earlier in the
      process.


35D.060 CBPA Review
A. All uses of deadly force and in-custody death cases shall be reviewed by a
   quorum of the full CBPA and in the manner stated in Sec�on 35D.040.
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B. For all other cases within the CBPA’s jurisdic�on, the CBPA shall establish
   Review Panels to make ﬁndings based on the inves�ga�on and determine
   whether City rules or PPB direc�ves were violated.
   1. Panels shall be comprised of three (3) CBPA Members, who shall atend all
      Reviews for the assigned case.
C. Panel assignments shall be made in rota�on and in a manner that will ensure
   the Panel reﬂects the demographic and life experience make-up of the CBPA to
   the extent possible. Altogether, the CBPA shall ensure a balance that allows the
   Panel as a whole to beneﬁt from the knowledge and exper�se of its individual
   members.
D. Findings and Inves�ga�on Review.
   1. Case presenta�on. At the Findings Review, the OCPA inves�gator or
      designee shall present the report to the CBPA for uses of deadly force and
      in-custody deaths and to the Review Panel Members (Reviewing Members)
      in Execu�ve Session, unless the Covered Employee opts for public session.
      Reviewing Members may ask ques�ons and discuss the case.
   2. Consensus on inves�ga�on. At the conclusion, Reviewing Members shall by
      majority consensus either:
         a) send the mater back for further inves�ga�on; or
         b) propose to either sustain or not sustain each allega�on and explain
             the facts that support their proposed ﬁndings and the policy or
             direc�ve at issue.
   3. Proposed discipline and binding discipline rules. If a majority of Reviewing
      Members propose to sustain one or more allega�ons, those same
      Reviewing Members shall propose discipline based on any binding discipline
      rules, such as a collec�ve bargaining agreement or statewide standards. For
      the purpose of making disciplinary decisions, the Reviewing Members shall
      have access to the full inves�ga�on ﬁle and personnel records of the
      Covered Employee, including all commenda�ons and prior correc�ve
      ac�on.
   4. Issuance of proposed discipline. Based on the majority vote of Reviewing
      Members regarding proposed discipline, the OCPA staﬀ, in collabora�on
      with the Reviewing Members shall prepare a writen leter to the Covered
      Employee detailing the ﬁndings and conclusions of the majority vote, as
      well as the proposed discipline and basis thereof, including the date for a
      Due Process Review, which shall be no sooner than seven (7) days a�er
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      issuance of the writen leter. OCPA staﬀ shall also provide the Covered
      Employee, and any appropriate union representa�ve, with access to a copy
      of the ﬁle provided to the Reviewing Panel once the leter is issued.
E. Due Process Review. The Covered Employee shall be provided a Due Process
   Review. This Review shall be held in Execu�ve Session unless the Covered
   Employees opts for public session. This Review will provide the Covered
   Employee and their representa�ve with the opportunity to present to the
   Reviewing Members any informa�on or mi�ga�on as deemed appropriate by
   the Covered Employee. The Covered Employee may waive their right to appear
   at the Due Process Review and may choose to submit writen response. In
   addi�on, the Chief or designee shall atend the Due Process Review.
F. Final Findings Review. Except as stated herein, this Review shall be held in
   Execu�ve Session unless the Covered Employees opts for public session. The
   Covered Employee and their representa�ve shall be excused at the conclusion
   of the Due Process Review. The Reviewing Members shall discuss the
   informa�on presented at the Due Process Review and have access to the full
   inves�ga�on ﬁle and personnel records of the Covered Employee, including all
   commenda�ons and prior correc�ve ac�on, for the purpose of making
   disciplinary decisions.
   1. A majority of Reviewing Members shall reach a consensus to:
         a. send the mater back for further inves�ga�on;
         b. either sustain or not sustain each allega�on and explain the facts that
            support their ﬁndings and the policy or direc�ve at issue; or
         c. recess for not more than seven (7) days to consider any informa�on
            from the Due Process Review, a�er which they will reconvene to
            reach consensus and then vote to sustain or not sustain each
            allega�on.
   2. If a majority of Reviewing Members reaches consensus to sustain any
      allega�ons, they shall then reach consensus as to the appropriate correc�ve
      ac�on based on any binding discipline rules, such as a collec�ve bargaining
      agreement or statewide standards.
   3. Once consensus is reached, a formal vote shall be taken in public session.
      The formal vote shall occur as follows:
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          a. Reviewing Members shall vote on whether to sustain or not sustain
             each allega�on, which shall only be referenced by “allega�on 1”,
             “allega�on 2”, and so forth, and the Covered Employee shall be
             anonymized.
          b. Reviewing Members shall also vote on the appropriate ﬁnal
             correc�ve ac�on to be imposed.
   4. Based on the majority vote regarding imposed discipline, the OCPA staﬀ, in
      collabora�on with the Reviewing Members during Execu�ve Session, shall
      prepare a writen leter to the Covered Employee detailing the ﬁndings and
      conclusions of the majority vote, a summary of the informa�on presented
      at the Due Process Review and how that informa�on was considered, the
      imposed discipline and basis thereof, and the vo�ng tally showing the vote
      of each Reviewing Member. Such leter shall include the fact of any
      grievance or appeal rights.
G. S�pulated Discipline Process
   1. If the case is appropriate for S�pulated Discipline under City Code sec�on
      3.20.XXX (currently 140(J)), prior to referring to the Reviewing Panel for
      Findings Review the Director or designee shall recommend ﬁndings and
      proposed discipline and provide no�ce to the Covered Employee of such
      recommenda�on, who may then request s�pulated discipline.
   2. If, a�er the conclusion of the presenta�on of the case, a majority of the
      Reviewing Panel at Findings Review proposes to adopt the recommenda�on
      from the Director or designee for s�pulated discipline, the Reviewing Panel
      shall then go into public session and shall follow the process outlined in
      Sec�on 35D.060(F)(3) to enter the S�pulated Discipline determina�on as
      ﬁnal discipline in an anonymized manner. Based on the majority vote of the
      Panel of Reviewing Members regarding the s�pulated discipline, the OCPA
      staﬀ shall prepare a writen leter to the Covered Employee detailing the
      ﬁndings and conclusions of the inves�ga�on and the imposed discipline and
      basis thereof.


35D. 070 Review Procedures
A. All CBPA and Panel Reviews shall be supported by an OCPA staﬀ member, a
   neutral facilitator, and a labor and employment atorney from the City
   Atorney’s Oﬃce. The CBPA may adopt rules to include advisory members in
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   CBPA or Panel Reviews, such as, OCPA Director or designee, and
   representa�ves from the PPB Training Division, BHR, and PPB Internal Aﬀairs,
   but shall not include the Complainant or the Covered Employee, except the
   Covered Employee may atend the Due Process Review. All atendees shall sign
   a conﬁden�ality agreement.
B. Prior to CBPA and Panel Reviews, the Reviewing Members shall review all
   inves�ga�ve materials and any impact statements from the Complainant.
   Reviewing Members shall not discuss the mater with other CBPA members
   un�l the CBPA or Panel Review. Reviewing Members shall not review or
   consider materials or informa�on outside of the inves�ga�ve materials, but at
   the conclusion of the CBPA or Panel Review, Reviewing Members may refer the
   case back to OCPA if addi�onal inves�ga�on is warranted.
C. CBPA and Panel Reviews shall be no�ced as required by Oregon Public Records
   laws and in anonymized manner.
D. The Reviewing Members shall only sustain an allega�on if the preponderance
   of evidence supports this ﬁnding.


35D. 080 Subpoenas
The CBPA shall have the authority to issue and enforce all categories of subpoenas
to the extent allowed by law.


35D.090 Alterna�ve Dispute Resolu�on
Informal Resolu�on
A. If the Complainant expresses an interest in resolving their complaint informally
   through discussion with the Covered Employee's supervisor, the Director shall
   determine whether such resolu�on is appropriate.
   1. The Director or designee shall confer with the Covered Employee’s
      supervisor about the possibility of an informal resolu�on process, and the
      supervisor shall make a determina�on whether to resolve the case
      informally or send it back to the OCPA for full inves�ga�on.
   2. Once approved for informal complaint resolu�on, a case can be resolved
      without full inves�ga�on and the Complainant will be informed of this
      decision.
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   3. If the case is sent back for full inves�ga�on by the supervisor, or informal
      resolu�on is unsuccessful, the OCPA will inform the Complainant.
Media�on
A. The Oversight System is authorized to provide for voluntary, conﬁden�al
   media�on between Complainants and Covered Employees as provided for in
   this Code and to improve police-community rela�ons. There shall be no cost to
   any party to u�lize the media�on op�on.
B. In addi�on to other provisions for media�on in this Code, media�on shall be
   oﬀered to the Covered Employee and Complainant a�er a Panel Review votes
   to sustain a ﬁnding. Such media�on is not in lieu of discipline, although it may
   cons�tute educa�on-based alterna�ve.

35D.100 Appeals
A. Appeal of Administra�vely Closed Complaint. If a Complainant disagrees with
   the OCPA inves�gator’s decision to administra�vely close a complaint, they can
   appeal the decision as provided for in Sec�on 35D.040(A)(2)(b)(i).
B. Appeals to City’s Civil Service Board or Arbitra�on. If a Covered Employee
   chooses to appeal to the City’s Civil Service Board or if a Covered employee or
   their collec�ve bargaining representa�ve ﬁles a grievance under a collec�ve
   bargaining agreement, the Reviewing Panel shall receive a copy of the appeal
   no�ce. The CBPA and OCPA shall cooperate with the City Atorney’s oﬃce
   designee handling the appeal or grievance.


35E.010 Policy Recommenda�ons
The CBPA shall have authority to make policy and direc�ve recommenda�ons to
the Portland Police Bureau and City Council. The Portland Police Bureau shall
consider and accept or reject all policy or direc�ve recommenda�ons made by the
CBPA. If the Portland Police Bureau rejects a policy or direc�ve recommenda�on,
then at the request of the CBPA, City Council must consider and vote to accept or
reject the policy recommenda�ons received from the CBPA. Council’s decision will
be binding on the Portland Police Bureau.
The development of policy recommenda�ons, procedures or prac�ces will
incorporate equity and an�-racist lenses.
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35E.020 Response of Police Chief; Referral to City Council
A. The Chief of Police or designee, a�er reviewing a policy or direc�ve
   recommenda�on submited by the CBPA under City Code Sec�on 35E.010,
   shall respond to the CBPA in wri�ng within a reasonable �me, but in no event
   more than 60 days a�er receipt of the recommenda�on. The response shall
   indicate what, if any, of the recommended policy, direc�ve or procedural
   changes are to be made within the Portland Police Bureau.
B. If the Police Chief rejects a recommenda�on, a por�on of a recommenda�on,
   or fails to respond within 60 days a�er its receipt from the CBPA, then within
   60 days a�er receipt of the response or failure to respond the CBPA may
   submit the mater for considera�on and decision by City Council. The CBPA
   shall post the policy recommenda�on for public input for 30 days and shall
   consider such input prior to submi�ng the mater for considera�on and
   decision by City Council.
C. If, a�er complying with any bargaining obliga�ons, curriculum development
   and training requirements, PPB fails to �mely implement a policy change either
   accepted by the Chief or required by City Council, the CBPA may place the
   mater on the Council agenda to request further Council ac�on.
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                                            8:00 am, February 20, 2024


                                           Portland                      City of Portland Initiative No.PDX24OL-03
                                                                                                        __
                                           City Auditor                           November 5, 2024 Election
AN ACT                                     Elec:dons


BE IT ENACTED BY THE PEOPLE OF THE CITY OF PORTLAND

The City Charter of the City of Portland is amended as follows {additions in underlined bold text;
deletions in strikethrough):

1. Amend Chapter 2, Article 1Oby amending Section 2-1001 to read as follows:

Section 2-1001. City of Portland Community Police Oversight Board. A Board is hereby authorized
and shall be established upon compliance with any legal obligations the City may have under the
Public Employees Collective Bargaining Act, other state and federal laws, and upon adoption by City
Council of an implementing Ordinance. The mission of the City of Portland Community Police
Oversight Board {Board) is to review and recommend improvements to recruiting, retaining, and
training efforts by the Portland Police Bureau, and to independently receive, investigate, and make
disciplinary recommendations about certain complaints against Portland Police Bureau sworn
employees and supervisors thereof promptly, fairly, and impartially, to impose discipline as
determined appropriate by the Board, and to make recommendations regarding police practices,
policies and directives to the Portland Police Bureau and 'o'o'ith a primary focus on community
concerns. The final name of this Board will be established by City Code.


2. Amend Chapter 2, Article 1o by amending Section 2-1002 to read as follows:

Section 2-1002 Nature of the Board. Board members shall be appointed by approval of Council to a
term of years established in City Code. Members may not be removed from the Board prior to the
completion of their term except for cause. Successors to an unexpired term shall be appointed by
approval of Council for the remainder of the term. The Board shall make provisions to ensure its
membership includes representation from diverse communities._ including those from diverse
communities and with diverse lived experiences, particularly those who have experienced systemic
racism and those vvho have experienced mental illness, addiction, or alcoholism various professional
backgrounds, and from different geographic areas within the City. Board members must live or
work in the City. Board members shall receive briefing on best practices surrounding recruiting,
retaining, and training police officers and investigating complaints against police officers.


3. Delete Chapter 2, Article 10, Section 2-1003:

Section 2·1003 Restrictions on Board Membership. People currently employed by a law
enforcement agency and their immediate family members are not eligible for service on the Board.
People who were formerly employed by a law enforcement agency are not eligible for service on the
Board.
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4. Amend Chapter 2, Article 1o, Section 2-1004 to read as follows:

Section 2-1004.3 Budget of the Board. Funding for the Board shall be proportional to be no less than 5
percent of the Police Bureau's Annual Operational Budget set by Council so that the Board will
provide sufficient focus on recruiting, retaining, training, and investigating complaints against
police officers.


5. Amend Chapter 2, Article 1o, Section 2-1005 to read as follows:

Section 2-10054 Professional Staff of the Board. The Board shall hire a Director to manage the
professional administrative staff and professional investigators, and to make operational and
administrative decisions. The Director is a "Bureau Director" for purposes of Charter section 4-301
and shall be appointed by, and serve at the will and pleasure of, the Board . Professional staff of the
Board, other than the Director, shall be appointed by and serve under the direction of the Director as
classified employees. The Director and Professional staff will receive the same briefing as Board
members.


6. Delete Chapter 2, Article 1o, Section 2-1006:

Section 2•1006 Independent Authority. The Board shall have authority to exercise independent
judgment in performing all legally assigned powers and duties. The Mayor, City Council, Auditor, and
City departments, bureaus and other administrative agencies shall not interfere in the exercise of the
Board's independent judgment. The physical office of the Board shall be located outside of a Portland
Police Bureau facility.


7. Amend Chapter 2, Article 10, Section 2-1007 to read as follows :

Section 2-100r.5 Powers of the Board.

      (al      Recruiting and Retaining Police Officers. Annually, the Board shall review and issue
               a report regarding the effectiveness of, and provide recommendations to further
               improve, the recruiting and retention programs for sworn police officers of the
               Police Bureau.

      {_b)_    Training Police Officers. Annually, the Board shall review and issue a report
               regarding the effectiveness of, and provide recommendations to further improve,
               training programs for sworn police officers of the Police Bureau.

               Investigating and Disciplining Police Officers.

               (1.)    The Board, by and through its Director and Professional Staff, shall have the
               po'vver to the full extent allo·vved by law to receive and investigate complaints including
               the power to subpoena and compel documents, and to issue disciplinary action up to
               and including termination for against all sworn members and the supervisors thereof
               with+n- employees of the Portland Police Bureau for.:_:-
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              a...     All deaths in custody and uses of deadly force;
              b...     Complaints of excessive force;
               c.      Complaints of discrimination against a protected class;
              .d....   Complaints of violations of constitutional rights; and
              _e_._    Complaints of bias-based policing.

       (b) The Board shall have the authority to mak:e policy and directive recommendations to the
       Portland Police Bureau and City Council. The Portland Police Bureau shall consider and accept
       or reject all policy or directive recommendations made by the Board . If the Portland Police
       Bureau rejects a policy or directive recommendation, then at the request of the Board, City
       Council must consider and vote to accept or reject the policy recommendations received from
       the Board. Council's decision 'o'v'ill be binding on the Portland Police Bureau.

              (2} tet For cases within its jurisdiction, the fhe Board, by and through its Director
              and Professional Staff, shall have the authority and ability, to the extent allowed by
              federal and state law and collective bargaining agreements, to gather and compel all
              evidence;,--to access all police records; to the extent allowed by federal and state law·,
              and the ability to compel seek statements from complainants, subjects, and
              witnesses'" including officers; and subpoena documents and witnesses. Such
              investigations must respect the legal rights of all complainants, subjects, and
              witnesses, including officers .

              .(3).  The Board, by and through its Director and Professional Staff, shall provide to
              the Chief of Police full, fair, and objective investigation reports and recommended
              levels of discipline, if any, for complaints within its jurisdiction. The Chief of Police
              shall have final and sole authority to impose discipline against Portland Police
              Bureau sworn employees, subject only to the approval of the City Administrator,
              and consistent with applicable law and collective bargaining agreements.

              {4}      Annually, the fhe Board shall mak:e provisions for regular and open meetings,
              public transparency, and issue a public reportfflg on the Board's activities surrounding
              its receipt, investigation, and disciplinary recommendations for complaints against
              Police Bureau sworn employees within its jurisdiction, while taking all reasonable
              and necessary steps to anonymize the identities of complainants, subjects, and
              witnesses. One of the goals of the Board will be to remove barriers for Board members
              to fully participate in the work: of the Board.

       (d) The Board shall have the power to compel sworn members of the Portland Police Bureau
       and their supervisors to participate in investigations and to completely and truthfully answer all
       questions. Refusal to truthfully and completely answer all questions may result in discipline up
       to and including termination .


8. Delete Chapter 2, Article 10, Section 2-1008:

Section 2-1008 Duties of the Board. The board shall have the authority to investigate certain Police
actions, including but not limited to,
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       (a} All deaths in custody and uses of deadly force.

       (b} All complaints of force that result in injury, discrimination against a protected class,
       violations of federal or state constitutional rights.

       (c} The Board may investigate other complaints or incidents of misconduct as they see fit or as
       mandated by City Code.


9. Amend Chapter 2, Article 1 o, Section 2-1009 to read as follows:

Section 2-1009.6 Severability. For the purpose of determining constitutionality, every section,
subsection and subdivision thereof of this Section, at any level of subdivision, shall be evaluated
separately. If any section, subsection or subdivision at any level is held invalid, the remaining sections,
subsections and subdivisions shall not be affected and shall remain in full force and effect. The courts
shall sever those sections, subsections and subdivisions necessary to render this Section consistent
with the United States Constitution and with the Oregon Constitution. Each section, subsection and
subdivision thereof, at any level of subdivision, shall be considered severable, individually or in any
combination.
